              Case 2:23-cr-00008-JLR Document 17 Filed 04/24/23 Page 1 of 3




 1                                                                     The Hon. James L. Robart
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10   UNITED STATES OF AMERICA,                         NO. CR23-008-JLR
11                         Plaintiff,
12                    v.                               NOTICE OF APPEARANCE
13   JOSEPH M. FREEMAN,

14                         Defendant.

15
16         PLEASE TAKE NOTICE that Assistant United States Attorney (“AUSA”)
17 Jehiel I. Baer hereby appears on behalf of the United States, for the specific purpose of
18 litigating the forfeiture aspects of this case. Going forward, please serve copies of all
19 pleadings, court documents, and correspondence on AUSA Baer at:
20
21                                      JEHIEL I. BAER
                                        Assistant United States Attorney
22
                                        United States Attorney’s Office
23                                      700 Stewart Street, Suite 5220
                                        Seattle, WA 98101
24                                      Phone: (206) 553-2242
25                                      Fax: (206) 553-6934
                                        Jehiel.Baer@usdoj.gov
26
27 //
     Notice of Appearance - 1                                               UNITED STATES ATTORNEY
     United States v. Freeman, CR23-008-JLR                                700 STEWART STREET, SUITE 5220
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
              Case 2:23-cr-00008-JLR Document 17 Filed 04/24/23 Page 2 of 3




 1         DATED this 24th day of April, 2023.
 2
                                              Respectfully submitted,
 3                                            NICHOLAS W. BROWN
 4                                            United States Attorney

 5
                                                s/ Jehiel I. Baer
 6                                            JEHIEL I. BAER
                                              Assistant United States Attorney
 7
                                              United States Attorney’s Office
 8                                            700 Stewart Street, Suite 5220
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     Notice of Appearance - 2                                        UNITED STATES ATTORNEY
     United States v. Freeman, CR23-008-JLR                         700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
              Case 2:23-cr-00008-JLR Document 17 Filed 04/24/23 Page 3 of 3




 1                                 CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on April 24, 2023, I electronically filed the foregoing Notice
 4 of Appearance with the Clerk of the Court using the CM/ECF system, which sends notice
 5 of the filing to all ECF participants of record.
 6
                                                s/ Donna R. Taylor
 7                                             DONNA R. TAYLOR
 8                                             FSA Paralegal III, Contractor
                                               United States Attorney’s Office
 9                                             700 Stewart Street, Suite 5220
                                               Seattle, Washington 98101
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                                               Phone: (206) 553-4132
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     Notice of Appearance - 3                                          UNITED STATES ATTORNEY
     United States v. Freeman, CR23-008-JLR                           700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
